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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON


  UNITED STATES OF AMERICA,                           Case No. 3:22-cr-00081-MO

                                    Plaintiff,
                                                      DEFENDANT’S UNOPPOSED
                       v.                             MOTION TO CONTINUE TRIAL
                                                      DATE
  DENNIS DOYLE,

                                 Defendant.

         Defendant Dennis Doyle, through his attorney, Elizabeth G. Daily, moves this Court to

continue the trial in the above-entitled case, which is presently scheduled for May 10, 2022, for a

period of approximately 120 days to September 7, 2022, or a date thereafter convenient to the

Court. This motion is made based on the need for time to complete discovery, investigate the case,

conduct research, and consult with Mr. Doyle regarding his case. No continuances have been

sought by the defense. This motion is unopposed by Assistant United States Attorney Natalie

Wight.

         This continuance constitutes excludable delay pursuant to Title l8, United States Code,

Section 3161(h)(7)(A) and (B). The ends of justice served by granting this motion outweigh the

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best interests of the public and Mr. Doyle in a speedy trial because the additional time is necessary

to afford defense counsel sufficient time to complete discovery, investigate the case, conduct

research, consult with Mr. Doyle, and prepare his case. Mr. Doyle acknowledges his right to a

speedy trial under the Speedy Trial Act and agrees that this motion will result in excludable delay

under the Act.

       Respectfully submitted this 26th day of April, 2022.


                                              /s/ Elizabeth G. Daily
                                              Elizabeth G. Daily
                                              Attorney for Defendant




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